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Exhibit Balance Sheet Income Statement AP Aging AR Aging Bank Statements Page 1 of 30

  Balance Sheet Summary - 2/28/2025                    IRWIN
                                                        Amt
  Cash or Cash Equivalent                                 4,787,964
  Trade Receivable (Gross)                           12,000,020.51
  Trade Receivable-Allowance for Bad Debt               (429,544.11)
  Prepaid Expenses and Other                              1,590,631
  Inventory                                              12,651,961
  Inventory Rebate                                         (424,101)
  Inventory Reserve                                      (1,989,622)
  Notes/R Related Party                                   4,176,636
  Current Assets                                         32,363,945


  Fixed Assets, Net                                         107,859


  LTI 5310 Holdings LLC                                       86,600


  Other Non-Current Assets                                  202,250
  Deferred Tax Asset                                      2,032,211
  Other Assets                                            2,234,461


  Right of Use Asset                                        627,698


  Assets                                                 35,420,563



  Trade and Other Payables                               17,361,952
  Lease Liability-S/T                                       340,613
  Line of Credit                                         17,598,551
  Reserve for Returns*                                      958,419
  Inc Taxes-Deferred/Payable                                  10,539
  Current Liabilities                                    36,270,073


  Lease Liability-L/T                                       316,634
  Long Term Liabilities                                     316,634


  Related Party Payable ST                                1,000,000


  Liabilities                                            37,586,707



  Common Stocks                                          16,326,530
  APIC                                                        92,180
  IN NV Class B Non Voting Shares                        13,750,431
  Capital                                               30,169,141

  Notes Receivable Related Party                        (16,326,530)
  Shareholder Related                                   (16,326,530)


  Accum Retained Earnings PY                           107,962,025
  Adjustments to Ret Earnings **                        (29,188,122)
  Distribution of Ret Earnings                          (94,818,003)
  Net Profit                                             (3,452,340)
  R/E - NCI                                               3,487,684
                                                        (16,008,755)

  Equity                                                 (2,166,144)


  Liabilities & Equity                                   35,420,563


  ** Adjusts for offsetting intercompany receivables/(payables) that are noncollectable
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  Income Statement - 2/28/2025           IRWIN
                                          Amt
  Revenues, Net*                          5,122,366


  COGS                                    2,829,209
  Other COS                                229,029
  Cost of Sales                           3,058,239


  Gross Margin                            2,064,128


  Distribution Cost                        599,086
  Sales & Marketing Expenses               546,871
  General & Administrative Exp             723,847
  Depreciation & Amortization                 4,063
  Bankruptcy Expenses**                    379,095
  Expenses                                2,252,962


  Operating Profit                         (188,834)


  Financing Costs/Line of Credit                 -
  Interest Expenses                         67,424
  Investments (Inc)/Loss                         -
  Financing                                 67,424


  State Inc Taxes                                332
  Other Revenues and Expenses                    332


  Net Profit                               (256,590)
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        AP Aging 2/28/25
        Row Labels Sum of Balance Sum of Current Sum of 0 Days Sum of 30 Days Sum of 60 Days Sum of 90 Days

        Grand Total   $4,226,126.24   $4,059,195.93      ($10,577.48)       $27,907.18       $133,358.75         $16,241.86

                                                      *Includes $220,669 of professional fees subject to court approval
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       AR Aging 2/28/25
       Row Labels Sum of Balance Sum of Current Sum of 0 Days Sum of 30 Days Sum of 60 Days Sum of 90+ Days Sum of 120+Days

       Grand Total   $12,000,020.51   $9,784,607.22   $1,460,549.56   $50,850.59    $163,497.43        $22,630.32     $517,885.39

                                                                                             Reserve for Bad Debts   ($429,544.11)

                                                                            90+ Days Aged net of Bad Debts Account   $110,971.60
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      135 N. Los Robles Ave., 6TH FL.
      Pasadena, CA 91101
                                                                                     ACCOUNT STATEMENT
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                                                                  STARTING DATE: February 01, 2025
                                                                    ENDING DATE: February 28, 2025
                                                                     Total days in statement period: 28
                                                                                                            3108
                                                                                                          ( 0)


                                                                       Stay alert for financial scams. If you
              EWB ITF IRWIN NATURALS                                   receive an email, text, or call from
              CHAPTER 11 DEBTOR IN POSSESSION                          someone unknown about receiving or
              CASE #24-11323                                           sending money for inheritance, charities,
              300 CORPORATE POINTE WALK SUITE 550                      or anything similar, do not respond or
              CULVER CITY CA 90230                                     share your personal information.




    Commercial Analysis Checking


    Account number                          3108         Beginning balance                         $40,674.76
    Low balance                      $17,545.74          Total additions           ( 193)       5,310,461.30
    Average balance                  $40,869.45          Total subtractions         ( 25)       5,292,910.95
                                                         Ending balance                            $58,225.11




    CREDITS
    Number          Date       Transaction Description                                       Additions
                    02-03                                                                    5,990.82
                    02-03                                                                    6,780.57
                    02-03
                                                                                            10,545.27
                    02-03
                                                                                            14,485.85
                    02-03                                                                   19,009.80
                    02-03                                                                   44,973.59
                    02-03                                                                   47,619.53
                    02-03
                                                                                        131,518.28
                    02-03                                                                     815.40
                    02-03                                                                    1,042.21
                    02-04


                                                                                        251,700.02
                    02-04                                                                       59.47
                    02-04
                                                                                            28,120.72
                    02-04                                                                   46,986.07
                    02-04                                                                   73,073.68
                    02-04                                                                   92,705.00
                    02-04                                                               162,434.33
                    02-04                                                                    2,872.10
                    02-05
                                                                                                12.94
                    02-05                                                                     546.84
                    02-05                                                                     574.24
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   Number         Date      Transaction Description                       Additions
                  02-05
                                                                         1,989.40
                  02-05
                                                                         4,477.64
                  02-05                                                 26,025.38
                  02-05
                                                                       121,657.59
                  02-05                                                 18,464.76
                  02-06


                                                                        86,252.03
                  02-06                                                    801.39
                  02-06
                                                                         1,346.41
                  02-06


                                                                         1,592.30
                  02-06
                                                                         1,727.66
                  02-06                                                  9,616.03
                  02-06                                                 30,662.60
                  02-07


                                                                       107,391.66
                  02-07                                                    730.96
                  02-07                                                    999.97
                  02-07                                                  9,116.28
                  02-07                                                 10,857.79
                  02-07                                                 12,334.71
                  02-07                                                 38,668.86
                  02-10
                                                                              0.01
                  02-10
                                                                           210.48
                  02-10
                                                                         1,053.28
                  02-10


                                                                         2,155.61
                  02-10                                                  2,202.30
                  02-10
                                                                         9,149.41
                  02-10                                                 11,787.89
                  02-10                                                 62,392.19
                  02-10                                                 65,006.18
                  02-10                                                 87,248.63
                  02-10
                                                                       235,812.03
                  02-10                                                 33,791.00
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    Number         Date      Transaction Description                           Additions
                   02-10                                                     10,751.40
                   02-11


                                                                              5,772.19
                   02-11
                                                                              7,786.32
                   02-11                                                     13,582.80
                   02-11
                                                                             29,684.10
                   02-11                                                     32,931.43
                   02-11                                                     40,228.82
                   02-11                                                     68,743.23
                   02-11                                                    190,610.34
                   02-11                                                      3,819.75
                   02-11                                                      8,739.89
                   02-11                                                     41,396.24
                   02-12                                                         21.06
                   02-12                                                      1,436.81
                   02-12                                                      2,905.49
                   02-12                                                      4,532.62
                   02-12                                                      7,101.76
                   02-12


                                                                            136,555.43
                   02-12
                                                                                254.81
                   02-12
                                                                                303.85
                   02-12                                                        422.65
                   02-12                                                      4,503.01
                   02-12                                                      9,155.59
                   02-12                                                     10,985.96
                   02-12                                                     13,840.39
                   02-12
                                                                            128,974.89
                   02-13                                                      3,455.70
                   02-13                                                      8,533.26
                   02-13                                                     11,311.88
                   02-13
                                                                             12,962.91
                   02-13                                                     26,998.77
                   02-14


                                                                            139,230.56
                   02-14


                                                                                507.33
                   02-14                                                        877.44
                   02-14                                                      2,091.89
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    Number         Date      Transaction Description                           Additions
                   02-14                                                     13,357.27
                   02-14
                                                                             47,645.93
                   02-14                                                     50,032.80
                   02-14                                                     72,430.71
                   02-14                                                      2,060.47
                   02-18                                                        143.88
                   02-18
                                                                                704.42
                   02-18                                                      1,292.38
                   02-18
                                                                              1,524.90
                   02-18
                                                                              1,570.94
                   02-18                                                      3,315.76
                   02-18
                                                                              3,612.80
                   02-18
                                                                              4,963.43
                   02-18
                                                                             17,345.32
                   02-18
                                                                             20,582.29
                   02-18                                                     32,031.90
                   02-18                                                     54,429.39
                   02-18
                                                                             67,729.77
                   02-18                                                     90,966.80
                   02-18
                                                                            162,796.60
                   02-18                                                         50.19
                   02-18                                                        668.30
                   02-18                                                      5,581.34
                   02-18                                                     18,351.01
                   02-19                                                        339.96
                   02-19
                                                                                873.12
                   02-19
                                                                              5,503.33
                   02-19                                                      9,343.34
                   02-19                                                     22,951.98
                   02-19                                                     87,850.82
                   02-19                                                     99,447.96
                   02-19
                                                                            137,572.85
                   02-19                                                      6,091.80
                   02-19                                                      1,226.71
                   02-20                                                        288.11
                   02-20                                                      4,941.71
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   Number         Date      Transaction Description                       Additions
                  02-20
                                                                         5,457.46
                  02-20                                                  8,553.21
                  02-20
                                                                        11,087.34
                  02-20                                                 23,183.71
                  02-20                                                    521.88
                  02-21


                                                                        35,863.65
                  02-21                                                    850.51
                  02-21                                                  2,037.66
                  02-21                                                  3,525.24
                  02-21                                                  8,683.17
                  02-21                                                 10,194.84
                  02-21
                                                                        12,126.31
                  02-21                                                 17,108.91
                  02-21                                                 20,202.18
                  02-21                                                 46,450.16
                  02-21                                                269,672.61
                  02-21                                                 14,297.81
                  02-24


                                                                         4,529.81
                  02-24


                                                                        19,063.06
                  02-24
                                                                           750.34
                  02-24                                                  3,866.98
                  02-24                                                  3,971.54
                  02-24                                                 10,249.41
                  02-24                                                 23,171.77
                  02-24                                                 53,450.16
                  02-24                                                 64,704.27
                  02-24                                                  6,010.77
                  02-24                                                    575.64
                  02-25                                                    113.07
                  02-25                                                  1,660.21
                  02-25                                                  3,104.46
                  02-25                                                  3,725.22
                  02-25                                                  4,915.88
                  02-25                                                  5,926.29
                  02-25                                                  7,632.91
                  02-25                                                 13,754.33
                  02-25                                                  3,789.99
                  02-25
                                                                         8,137.63
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    Number         Date      Transaction Description                      Additions
                   02-25                                                14,259.12
                   02-25                                                14,708.00
                   02-25                                                17,105.52
                   02-25                                                19,160.50
                   02-25                                                 2,926.02
                   02-25                                                 4,633.33
                   02-26
                                                                           901.80
                   02-26                                                   914.22
                   02-26


                                                                         1,438.80
                   02-26                                                 1,479.99
                   02-26
                                                                         4,667.74
                   02-26
                                                                        11,588.78
                   02-26
                                                                        40,010.14
                   02-26                                                 2,109.82
                   02-27                                                 1,142.83
                   02-27                                                 5,500.62
                   02-27
                                                                         5,669.38
                   02-27                                                14,207.56
                   02-27


                                                                        21,978.18
                   02-27                                                   289.46
                   02-27                                                   425.49
                   02-28
                                                                         3,319.62
                   02-28


                                                                           448.47
                   02-28
                                                                         2,954.70
                   02-28
                                                                         2,964.38
                   02-28                                                 3,627.65
                   02-28                                                11,122.23
                   02-28
                                                                        31,409.11
                   02-28                                                62,697.47
                   02-28                                                74,165.19
                   02-28
                                                                       230,307.44
                   02-28                                                 1,387.33
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             EWB ITF IRWIN NATURALS




    DEBITS
    Date      Transaction Description                                         Subtractions
    02-03    Preauth Debit                                                          0.86
    02-03    Automatic Trans                                                 282,833.46
    02-04    Automatic Trans                                                 655,740.39
    02-05    Automatic Trans                                                 156,808.79
    02-06    Preauth Debit                                                          0.23
    02-06    Automatic Trans                                                 145,300.19
    02-07    Automatic Trans                                                 187,364.23
    02-10    Automatic Trans                                                 485,942.49
    02-11    Automatic Trans                                                 472,512.11
    02-12    Automatic Trans                                                 318,770.58
    02-13    Automatic Trans                                                  37,499.52
    02-14    Preauth Debit                                                         21.89
    02-14    Automatic Trans                                                 373,408.19
    02-18    Preauth Debit                                                          4.32
    02-18    Automatic Trans                                                 486,959.10
    02-19    Automatic Trans                                                 374,039.87
    02-20    Automatic Trans                                                  62,746.42
    02-21    Preauth Debit                                                         19.40
    02-21    Automatic Trans                                                 438,111.65
    02-24    Preauth Debit                                                          3.80
    02-24    Automatic Trans                                                 186,585.95
    02-25    Automatic Trans                                                  85,031.11
    02-26    Automatic Trans                                                  67,394.29
    02-27    Automatic Trans                                                  51,124.52
    02-28    Automatic Trans                                                 424,687.59




    DAILY BALANCES
    Date            Amount              Date    Amount              Date        Amount
    01-31              40,674.76        02-11     45,607.68         02-21          20,427.74
    02-03              40,621.76        02-12     47,831.42         02-24          24,181.74
    02-04              42,832.76        02-13     73,594.42         02-25          64,703.11
    02-05              59,772.76        02-14     28,398.74         02-26          60,420.11
    02-06              46,470.76        02-18     29,096.74         02-27          58,509.11
    02-07              39,206.76        02-19     26,258.74         02-28          58,225.11
    02-10              74,824.68        02-20     17,545.74
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           EWB ITF IRWIN NATURALS




          OVERDRAFT/RETURN ITEM FEES


                                                        Total for                Total
                                                       this period            year-to-date


                   Total Overdraft Fees                    $0.00                    $0.00


                   Total Returned Item Fees                $0.00                    $0.00
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                                                                     Total days in statement period: 28
                                                                                                            3116
                                                                                                          ( 0)


                                                                       Stay alert for financial scams. If you
              EWB ITF IRWIN NATURALS                                   receive an email, text, or call from
              CHAPTER 11 DEBTOR IN POSSESSION                          someone unknown about receiving or
              CASE #24-11323                                           sending money for inheritance, charities,
              300 CORPORATE POINTE WALK SUITE 550                      or anything similar, do not respond or
              CULVER CITY CA 90230                                     share your personal information.




     Commercial Analysis Checking


    Account number                          3116         Beginning balance                                 $0.00
    Low balance                             $0.00        Total additions            ( 58)          174,771.10
    Average balance                         $0.00        Total subtractions         ( 21)          174,771.10
                                                         Ending balance                                      $.00




    CREDITS
    Number          Date       Transaction Description                                       Additions
                    02-03
                                                                                                93.36
                    02-03
                                                                                              101.22
                    02-03
                                                                                              137.79
                    02-03
                                                                                            4,106.83
                    02-03
                                                                                            6,999.80
                    02-03
                                                                                            7,257.69
                    02-04
                                                                                                60.82
                    02-04
                                                                                            7,745.68
                    02-05
                                                                                              172.23
                    02-05
                                                                                            9,048.36
                    02-06
                                                                                                72.75
                    02-06
                                                                                            4,089.51
                    02-07
                                                                                                89.32
                    02-07
                                                                                            5,290.20
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    Number         Date      Transaction Description                      Additions
                   02-10
                                                                           173.38
                   02-10
                                                                           183.42
                   02-10
                                                                         3,588.99
                   02-10
                                                                         5,857.97
                   02-10
                                                                         6,734.75
                   02-11
                                                                           127.13
                   02-11
                                                                         4,372.32
                   02-12
                                                                           193.90
                   02-12
                                                                         4,937.16
                   02-13
                                                                            25.05
                   02-13                                                    63.18
                   02-13
                                                                         6,618.56
                   02-14
                                                                           116.29
                   02-14
                                                                         7,740.20
                   02-18
                                                                            29.92
                   02-18
                                                                            60.54
                   02-18
                                                                           140.95
                   02-18
                                                                         5,084.60
                   02-18
                                                                         5,370.41
                   02-18
                                                                         5,652.86
                   02-18
                                                                         6,956.20
                   02-19                                                    39.99
                   02-19
                                                                           118.27
                   02-19
                                                                        10,573.59
                   02-20
                                                                           181.51
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50      Desc
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    Number            Date        Transaction Description                       Additions
                      02-20
                                                                               5,289.17
                      02-21
                                                                                   15.60
                      02-21                                                        33.23
                      02-21
                                                                               4,550.49
                      02-24
                                                                                   70.91
                      02-24
                                                                                  141.09
                      02-24
                                                                                  295.84
                      02-24
                                                                               4,983.21
                      02-24
                                                                               5,563.43
                      02-24
                                                                               7,976.66
                      02-25
                                                                                  302.26
                      02-25
                                                                               7,314.62
                      02-26
                                                                                  144.97
                      02-26
                                                                               5,975.36
                      02-27
                                                                                  146.34
                      02-27
                                                                               6,170.79
                      02-28                                                       148.08
                      02-28
                                                                                  150.90
                      02-28
                                                                               5,291.45




    DEBITS
    Date      Transaction Description                                         Subtractions
    02-03    Automatic Trans                                                  18,696.69
    02-04    Automatic Trans                                                   7,806.50
    02-05    Automatic Trans                                                   9,220.59
    02-06    Automatic Trans                                                   4,162.26
    02-07    Automatic Trans                                                   5,379.52
    02-10    Preauth Debit                                                          4.83
    02-10    Automatic Trans                                                  16,533.68
    02-11    Automatic Trans                                                   4,499.45
    02-12    Automatic Trans                                                   5,131.06
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50      Desc
                                                                      ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AP Aging AR Aging Bank Statements   Page 4 17
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                                                                      STARTING DATE: February 01, 2025
      135 N. Los Robles Ave., 6TH FL.
                                                                           ENDING DATE: February 28, 2025
      Pasadena, CA 91101
                                                                                                          3116
             EWB ITF IRWIN NATURALS




    Date     Transaction Description                                                      Subtractions
    02-13   Automatic Trans                                                                 6,706.79
    02-14   Preauth Debit                                                                        65.97
    02-14   Automatic Trans                                                                 7,790.52
    02-18   Automatic Trans                                                                23,295.48
    02-19   Automatic Trans                                                                10,731.85
    02-20   Automatic Trans                                                                 5,470.68
    02-21   Automatic Trans                                                                 4,599.32
    02-24   Automatic Trans                                                                19,031.14
    02-25   Automatic Trans                                                                 7,616.88
    02-26   Automatic Trans                                                                 6,120.33
    02-27   Automatic Trans                                                                 6,317.13
    02-28   Automatic Trans                                                                 5,590.43




    DAILY BALANCES
    Date           Amount                   Date    Amount                    Date           Amount
    01-31                   0.00            02-11            0.00             02-21                      0.00
    02-03                   0.00            02-12            0.00             02-24                      0.00
    02-04                   0.00            02-13            0.00             02-25                      0.00
    02-05                   0.00            02-14            0.00             02-26                      0.00
    02-06                   0.00            02-18            0.00             02-27                      0.00
    02-07                   0.00            02-19            0.00             02-28                      0.00
    02-10                   0.00            02-20            0.00




            OVERDRAFT/RETURN ITEM FEES


                                                             Total for                   Total
                                                             this period              year-to-date


                     Total Overdraft Fees                        $0.00                      $0.00


                     Total Returned Item Fees                    $0.00                      $0.00
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50 Desc
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      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50 Desc
Exhibit Balance Sheet Income Statement AP Aging AR Aging Bank Statements       Page 19to:
                                                                        Direct inquiries of 30
                                                                                               888 895-5650
      135 N. Los Robles Ave., 6TH FL.
      Pasadena, CA 91101
                                                                                      ACCOUNT STATEMENT
                                                                                             Page      1    of      6
                                                                   STARTING DATE: February 01, 2025
                                                                     ENDING DATE: February 28, 2025
                                                                      Total days in statement period: 28
                                                                                                             6606
                                                                                                           ( 3)


                                                                        Stay alert for financial scams. If you
              IRWIN NATURALS, INC.                                      receive an email, text, or call from
              CHAPTER 11 DEBTOR IN POSSESSION                           someone unknown about receiving or
              CASE #24-11323                                            sending money for inheritance, charities,
              OPERATIONAL ACCOUNT (B2B)                                 or anything similar, do not respond or
              300 CORPORATE POINTE WALK SUITE 550                       share your personal information.
              CULVER CITY CA 90230




     Commercial Analysis Checking


    Account number                             6606       Beginning balance                    $5,666,673.63
    Enclosures                                    3       Total additions            ( 42)       5,469,831.39
    Low balance                     $4,328,706.63         Total subtractions        ( 106)       6,807,798.39
    Average balance                 $5,382,152.67         Ending balance                       $4,328,706.63




    CREDITS
    Number          Date        Transaction Description                                       Additions
                    02-03    Automatic Trans

                                                                                         282,833.46
                    02-03    Automatic Trans

                                                                                             18,696.69
                    02-04    Automatic Trans

                                                                                         655,740.39
                    02-04    Automatic Trans

                                                                                              7,806.50
                    02-05    Automatic Trans

                                                                                         156,808.79
                    02-05    Automatic Trans

                                                                                              9,220.59
                    02-06    Automatic Trans

                                                                                         145,300.19
                    02-06    Automatic Trans

                                                                                              4,162.26
                    02-07    Automatic Trans

                                                                                         187,364.23
                    02-07    Automatic Trans

                                                                                              5,379.52
                    02-10    Automatic Trans

                                                                                         485,942.49
                    02-10    Automatic Trans

                                                                                             16,533.68
                    02-11    Automatic Trans

                                                                                         472,512.11
                    02-11    Automatic Trans

                                                                                              4,499.45
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50      Desc
                                                                      ACCOUNT STATEMENT
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                                                               STARTING DATE: February 01, 2025
      135 N. Los Robles Ave., 6TH FL.
                                                                 ENDING DATE: February 28, 2025
      Pasadena, CA 91101
                                                                                            6606
             IRWIN NATURALS, INC.




    Number          Date     Transaction Description                            Additions
                    02-12
                                                                             318,770.58
                    02-12
                                                                               5,131.06
                    02-13
                                                                              37,499.52
                    02-13
                                                                               6,706.79
                    02-14
                                                                             373,408.19
                    02-14
                                                                               7,790.52
                    02-18
                                                                             486,959.10
                    02-18
                                                                              23,295.48
                    02-18                                                      2,204.99
                    02-19
                                                                             374,039.87
                    02-19
                                                                              10,731.85
                    02-19
                                                                                  40.00
                    02-20
                                                                              62,746.42
                    02-20
                                                                               5,470.68
                    02-21
                                                                             438,111.65
                    02-21
                                                                               4,599.32
                    02-21                                                           0.65
                    02-24
                                                                             186,585.95
                    02-24
                                                                              19,031.14
                    02-25
                                                                              85,031.11
                    02-25
                                                                               7,616.88
                    02-25
                                                                                  25.00
                    02-26
                                                                              67,394.29
                    02-26
                                                                               6,120.33
                    02-27
                                                                              51,124.52
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50      Desc
                                                                      ACCOUNT STATEMENT
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                                                                         STARTING DATE: February 01, 2025
      135 N. Los Robles Ave., 6TH FL.
                                                                            ENDING DATE: February 28, 2025
      Pasadena, CA 91101
                                                                                                        6606
             IRWIN NATURALS, INC.




    Number            Date        Transaction Description                                  Additions
                      02-27
                                                                                          6,317.13
                      02-28
                                                                                        424,687.59
                      02-28
                                                                                          5,590.43




    CHECKS
    Number            Date               Amount             Number           Date           Amount
                      02-05               20.79                      *       02-12            35.98
             *        02-05             1,361.38            * Skip in check sequence




    DEBITS
    Date      Transaction Description                                                    Subtractions
    02-03    Bbp Usd Intl WI
                                                                                          2,472.30
    02-03    Outgoing Wire                                                                2,000.00
    02-03    Preauth Debit                                                                    37.37
    02-03    Preauth Debit                                                                    37.88
    02-03    Preauth Debit                                                                   342.32
    02-03    Preauth Debit                                                                   350.79
    02-03    Preauth Debit                                                                   467.75
    02-03    Preauth Debit                                                                2,557.85
    02-03    Preauth Debit                                                                3,803.90
    02-03    Preauth Debit                                                                4,094.78
    02-03    Preauth Debit                                                               18,311.32
    02-03    Preauth Debit                                                               56,509.84
    02-04    Preauth Debit                                                                    31.59
    02-04    Preauth Debit                                                                    71.94
    02-04    Preauth Debit                                                                   553.00
    02-04    Preauth Debit                                                                2,997.50
    02-04    Preauth Debit                                                                3,567.97
    02-05    Outgoing Wire
                                                                                        189,301.21
    02-05    Debit Memo                                                                  99,136.56
    02-05    Debit Memo                                                                 126,153.89
    02-05    Preauth Debit                                                                     0.77
    02-05    Preauth Debit                                                                7,995.07
    02-05    Preauth Debit                                                               27,416.49
    02-06    Outgoing Wire
                                                                                         74,708.63
    02-06    Preauth Debit                                                                   179.85
    02-06    Preauth Debit                                                                1,189.01
    02-06    Preauth Debit                                                               16,686.00
    02-06    Preauth Debit                                                               20,893.90
    02-06    Preauth Debit                                                              234,559.62
    02-07    Outgoing Fx Ccy                                                                  81.94
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50      Desc
                                                                      ACCOUNT STATEMENT
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      135 N. Los Robles Ave., 6TH FL.
                                                                 ENDING DATE: February 28, 2025
      Pasadena, CA 91101
                                                                                             6606
            IRWIN NATURALS, INC.




    Date     Transaction Description                                          Subtractions
    02-07   Outgoing Fx Ccy                                                    6,884.37
    02-07   Bbp Usd Intl WI                                                    4,350.00
    02-07   Outgoing Wire                                                  1,077,965.64
    02-07   Outgoing Wire                                                     77,301.84
    02-07   Preauth Debit                                                     36,080.00
    02-10   Preauth Debit                                                          60.36
    02-10   Preauth Debit                                                         239.88
    02-10   Preauth Debit                                                         268.55
    02-10   Preauth Debit                                                         457.95
    02-10   Preauth Debit                                                         549.21
    02-10   Preauth Debit                                                         603.17
    02-10   Preauth Debit                                                      2,845.18
    02-10   Preauth Debit                                                      3,870.05
    02-10   Preauth Debit                                                     16,012.17
    02-10   Preauth Debit                                                     59,268.00
    02-11   Preauth Debit                                                      1,458.46
    02-13   Outgoing Fx Ccy                                                    1,467.52
    02-13   Outgoing Fx Ccy                                                    2,063.64
    02-13   Outgoing Wire                                                     25,000.00
    02-13   Preauth Debit                                                     17,812.32
    02-13   Preauth Debit                                                     22,325.68
    02-13   Preauth Debit                                                     98,552.83
    02-13   Preauth Debit                                                    169,485.07
    02-14   Outgoing Wire                                                  1,228,457.19
    02-18   Preauth Debit                                                          13.19
    02-18   Preauth Debit                                                         619.36
    02-18   Preauth Debit                                                         774.64
    02-18   Preauth Debit                                                      4,256.79
    02-18   Preauth Debit                                                     17,543.14
    02-19   Outgoing Wire
                                                                             217,211.34
    02-19   Preauth Debit                                                         124.24
    02-19   Preauth Debit                                                         819.23
    02-20   Outgoing Fx Ccy                                                        82.64
    02-20   Outgoing Fx Ccy                                                    6,482.66
    02-20   Outgoing Fx Ccy                                                   29,837.73
    02-20   Outgoing Wire
                                                                              97,702.00
    02-20   Preauth Debit                                                      1,189.01
    02-20   Preauth Debit                                                      5,000.00
    02-20   Preauth Debit                                                     21,694.40
    02-20   Preauth Debit                                                     39,960.34
    02-20   Preauth Debit                                                    182,811.28
    02-21   Outgoing Wire                                                  1,080,330.67
    02-21   Preauth Debit                                                      1,740.00
    02-21   Preauth Debit                                                     56,936.69
    02-24   Preauth Debit                                                         179.50
    02-24   Preauth Debit                                                         253.80
    02-24   Preauth Debit                                                         568.06
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50      Desc
                                                                      ACCOUNT STATEMENT
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                                                                      STARTING DATE: February 01, 2025
      135 N. Los Robles Ave., 6TH FL.
                                                                           ENDING DATE: February 28, 2025
      Pasadena, CA 91101
                                                                                                          6606
             IRWIN NATURALS, INC.




    Date     Transaction Description                                                      Subtractions
    02-24   Preauth Debit                                                                        707.38
    02-24   Preauth Debit                                                                        708.90
    02-24   Preauth Debit                                                                        857.42
    02-24   Preauth Debit                                                                        903.89
    02-24   Preauth Debit                                                                        930.52
    02-24   Preauth Debit                                                                   1,263.74
    02-24   Preauth Debit                                                                   2,514.04
    02-24   Preauth Debit                                                                   5,179.88
    02-24   Preauth Debit                                                                  13,755.09
    02-25   Outgoing Fx Ccy                                                                 8,365.59
    02-25   Analysis Servic                                                                 3,069.13
    02-25   Preauth Debit                                                                        372.48
    02-25   Preauth Debit                                                                   2,723.05
    02-25   Preauth Debit                                                                   3,078.99
    02-26   Preauth Debit                                                                        131.40
    02-26   Preauth Debit                                                                        331.75
    02-26   Preauth Debit                                                                   1,248.49
    02-27   Onln Bkg Trfn D                                                                 6,000.00
    02-27   Preauth Debit                                                                  14,203.63
    02-27   Preauth Debit                                                                 149,681.97
    02-28   Outgoing Fx Ccy                                                                      814.74
    02-28   Outgoing Fx Ccy                                                                20,331.60
    02-28   Bbp Usd Intl WI                                                                 4,275.00
    02-28   Outgoing Wire                                                               1,048,253.58
    02-28   Preauth Debit                                                                        262.22
    02-28   Preauth Debit                                                                        394.93




    DAILY BALANCES
    Date           Amount                   Date    Amount                    Date           Amount
    01-31         5,666,673.63              02-11   5,933,365.94              02-21          4,760,543.03
    02-03         5,877,217.68              02-12   6,257,231.60              02-24          4,938,337.90
    02-04         6,533,542.57              02-13   5,964,730.85              02-25          5,013,401.65
    02-05         6,248,185.79              02-14   5,117,472.37              02-26          5,085,204.63
    02-06         6,049,431.23              02-18   5,606,724.82              02-27          4,972,760.68
    02-07         5,039,511.19              02-19   5,773,381.73              02-28          4,328,706.63
    02-10         5,457,812.84              02-20   5,456,838.77




            OVERDRAFT/RETURN ITEM FEES


                                                             Total for                   Total
                                                             this period              year-to-date


                     Total Overdraft Fees                        $0.00                      $0.00


                     Total Returned Item Fees                    $0.00                      $0.00
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 EnteredChecking
                                                             03/21/25Account
                                                                       17:03:50 Desc6606
Exhibit Balance Sheet Income Statement AP Aging AR Aging Bank    Statements
                                                            Statement Date
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                                                                                02/28/2025
                                                              Page                  6 of 6




                    02/05/2025        $20.79




                 02/05/2025        $1,361.38




                   02/12/2025        $35.98
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50 Desc
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      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50 Desc
Exhibit Balance Sheet Income Statement AP Aging AR Aging Bank Statements       Page 26to:
                                                                        Direct inquiries of 30
                                                                                                      888 895-5650
      135 N. Los Robles Ave., 6TH FL.
      Pasadena, CA 91101
                                                                                            ACCOUNT STATEMENT
                                                                                                    Page     1     of     1
                                                                        STARTING DATE: February 01, 2025
                                                                             ENDING DATE: February 28, 2025
                                                                             Total days in statement period: 28
                                                                                                                   6614
                                                                                                                  ( 0)


                                                                              Stay alert for financial scams. If you
               IRWIN NATURALS                                                 receive an email, text, or call from
               CHAPTER 11 DEBTOR IN POSSESSION                                someone unknown about receiving or
               CASE #24-11323                                                 sending money for inheritance, charities,
               E-COMMERCE (B2C)                                               or anything similar, do not respond or
               300 CORPORATE POINTE WALK SUITE 550                            share your personal information.
               CULVER CITY CA 90230




     Commercial Analysis Checking


    Account number                             6614            Beginning balance                            $6,686.83
    Low balance                         $5,869.33              Total additions              ( 0)                        .00
    Average balance                     $6,016.70              Total subtractions          ( 10)                  817.50
                                                               Ending balance                               $5,869.33




    DEBITS
    Date      Transaction Description                                                              Subtractions
    02-03    Preauth Debit                                                                              42.50
    02-03    Preauth Debit                                                                              44.17
    02-03    Preauth Debit                                                                              53.99
    02-03    Preauth Debit                                                                             197.55
    02-04    Preauth Debit                                                                              38.60
    02-04    Preauth Debit                                                                             263.94
    02-07    Preauth Debit                                                                              29.44
    02-12    Preauth Debit                                                                              58.49
    02-20    Preauth Debit                                                                              53.98
    02-21    Preauth Debit                                                                              34.84




    DAILY BALANCES
    Date            Amount                   Date     Amount                     Date                Amount
    01-31               6,686.83             02-07       6,016.64                02-21                     5,869.33
    02-03               6,348.62             02-12       5,958.15
    02-04               6,046.08             02-20       5,904.17




            OVERDRAFT/RETURN ITEM FEES


                                                               Total for                      Total
                                                               this period               year-to-date


                      Total Overdraft Fees                         $0.00                            $0.00


                      Total Returned Item Fees                     $0.00                            $0.00
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50 Desc
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      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50 Desc
Exhibit Balance Sheet Income Statement AP Aging AR Aging Bank Statements       Page 28to:
                                                                        Direct inquiries of 30
                                                                                                  888 761-3967
      9300 Flair Dr., 1St FL
      El Monte, CA. 91731
                                                                                        ACCOUNT STATEMENT
                                                                                                Page     1    of      2
                                                                     STARTING DATE: February 01, 2025
                                                                       ENDING DATE: February 28, 2025
                                                                        Total days in statement period: 28
                                                                                                               0727
                                                                                                              ( 0)


                                                                          Stay alert for financial scams. If you
               IRWIN NATURALS                                             receive an email, text, or call from
               CHAPTER 11 DEBTOR IN POSSESSION                            someone unknown about receiving or
               CASE #24-11323                                             sending money for inheritance, charities,
               (DEBIT CARD FUND ACCT)                                     or anything similar, do not respond or
               300 CORPORATE POINTE SUITE 550                             share your personal information.
               CULVER CITY CA 90230-7617




     Commercial Analysis Checking


    Account number                             0727         Beginning balance                           $9,179.21
    Low balance                          $4,831.38          Total additions             ( 2)             6,002.49
    Average balance                      $7,440.36          Total subtractions         ( 22)             5,535.02
                                                            Ending balance                              $9,646.68




    CREDITS
    Number            Date        Transaction Description                                        Additions
                      02-27                                                                     6,000.00
                      02-28


                                                                                                       2.49




    DEBITS
    Date      Transaction Description                                                          Subtractions
    02-07    POS Purchase
                                                                                                       8.33
    02-07    POS Purchase
                                                                                                   127.97
    02-07    POS Purchase
                                                                                                   128.84
    02-07    POS Purchase
                                                                                                   144.34
    02-10    POS Purchase
                                                                                                   351.96
    02-13    POS Purchase
                                                                                                   122.08
    02-13    POS Purchase
                                                                                                   123.97
    02-13    POS Purchase
                                                                                                   193.56
    02-13    POS Purchase
                                                                                                   197.25
    02-14    POS Purchase
                                                                                                   466.96
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50      Desc
                                                                      ACCOUNT STATEMENT
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                                                                      STARTING DATE: February 01, 2025
      9300 Flair Dr., 1St FL
                                                                           ENDING DATE: February 28, 2025
      El Monte, CA. 91731
                                                                                                          0727
             IRWIN NATURALS




    Date     Transaction Description                                                      Subtractions
    02-14   POS Purchase
                                                                                                 768.97
    02-18   POS Purchase
                                                                                                  20.01
    02-18   POS Purchase
                                                                                                 182.02
    02-18   POS Purchase
                                                                                                 182.02
    02-19   POS Purchase
                                                                                                 137.88
    02-20   POS Purchase
                                                                                                 225.80
    02-21   POS Purchase
                                                                                                 671.67
    02-26   POS Purchase
                                                                                                 134.20
    02-26   POS Purchase
                                                                                                 160.00
    02-27   POS Purchase
                                                                                                 238.00
    02-27   POS Purchase
                                                                                                 349.19
    02-27   POS Purchase
                                                                                                 600.00




    DAILY BALANCES
    Date           Amount                   Date    Amount                    Date           Amount
    01-31              9,179.21             02-14      6,544.98               02-21                5,125.58
    02-07              8,769.73             02-18      6,160.93               02-26                4,831.38
    02-10              8,417.77             02-19      6,023.05               02-27                9,644.19
    02-13              7,780.91             02-20      5,797.25               02-28                9,646.68




            OVERDRAFT/RETURN ITEM FEES


                                                             Total for                   Total
                                                             this period              year-to-date


                     Total Overdraft Fees                        $0.00                      $0.00


                     Total Returned Item Fees                    $0.00                      $0.00
      Case 1:24-bk-11323-VK Doc 453-1 Filed 03/21/25 Entered 03/21/25 17:03:50 Desc
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